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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF INDIANA
                               HAMMOND DIVISION

 UNITED STATES OF AMERICA,                  )
                                            )
               vs.                          )      Cause No. 2:14-cr-93
                                            )
 JAMES SCHAEFER,                            )
                                            )
                      Defendant.            )

                                  OPINION AND ORDER

        James Schaefer is charged with one count (Count 11) of conspiracy to conceal

 assets. (DE 48 at 13-14.) Schaefer was formerly an accountant who appears to have

 worked for two firms owned by codefendant Jack Weichman, Weichman & Associates

 and MMDS. The indictment alleges that Schaefer conspired with Weichman and his

 son, codefendant Ari Weichman (“Ari”), to defraud Weichman’s chapter 11 creditors by

 concealing income, assets, and funds on monthly cash flow reports filed in Weichman’s

 bankruptcy proceedings and on tax returns. (Id.) Schaefer moves to dismiss Count 11 on

 grounds that he had no duty of disclosure to the United States Trustee or Weichman’s

 creditors and because “it is not fair” that Schaefer must “wait until trial to learn of the

 evidence of his purported agreement . . . to commit bankruptcy fraud.” For the reasons

 below, Schaefer’s motion to dismiss is denied.

        Federal Rule of Criminal Procedure 7(c)(1) provides that an indictment “must be

 a plain, concise, and definite written statement of the essential facts constituting the

 offense charged” and for each count must cite “the statute, rule, regulation, or other

 provision of law that the defendant is alleged to have violated.” An indictment
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 complies with Rule 7(c)(1) and is constitutionally adequate, so long as “it states the

 elements of the crime charged, informs the defendant of the nature of the charge so she

 may prepare a defense, and enables the defendant to plead the judgment as a bar

 against future prosecutions for the same offense.” United States v. Agostino, 132 F.3d

 1183, 1189 (7th Cir. 1997) (citations omitted).

        Count 11 more than satisfies Rule 7(c)(1). The count notes the statutory basis for

 the charge (18 U.S.C. §§ 152, 371) and sets out the elements of the conspiracy. (DE 48 at )

 More specifically, it explains that Jack Weichman was obligated to pay unsecured

 creditors in his chapter 11 bankruptcy with income from Weichman & Associates and

 MMDS and that Schaeffer and his codefendants agreed on a scheme to avoid those

 payments. (Id.) The indictment alleges that Schaefer knowingly and intentionally

 prepared the firms’ tax returns and monthly cash flow reports to show hundreds of

 thousands of dollars as paid to defendant Ari Weichman when they were not. (Id. at 14-

 16.) It further alleges that the cash flow reports Schaefer prepared did not reflect

 amounts Jack Weichman paid to Ari Weichman and to American Express for personal

 expenses. (Id. at 16-17.)

        This is more than enough information to allow Schaefer to prepare a defense

 against conspiracy and to enable him to plead the judgment against future prosecutions

 for the same offense. Further, and as Schaefer conceded in his reply, Schaefer can be

 charged for conspiracy to commit bankruptcy, even if he is not charged with the

 underlying bankruptcy fraud. (DE 122 at 3 (citing Gebardi v. United States, 287 U.S. 112,


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 121 (1932)). Accordingly, Rule 7(c)(1) is satisfied.

        Nevertheless, Schaefer argues that the indictment is defective because “[t]he

 government . . . has never provided a shred of information in support of the assertion

 about an agreement between Schaefer and Weichman to defraud creditor[.]” (DE 122 at

 2.) But those are evidentiary issues, and this is not the time to “test the strength or

 weakness of the government’s case, or the sufficiency of the government’s evidence.”

 United States v. Moore, 563 F.3d 583, 586 (7th Cir. 2009) (citations omitted). The task at

 hand now is evaluating the sufficiency of the indictment, and in doing, so the

 allegations contained in the indictment are taken as true. Id.

        For these reasons, Schaefer’s Motion to Dismiss the Indictment (DE 119) is

 DENIED.

        SO ORDERED.

        ENTERED: August 5, 2016
                                                     s/ Philip P. Simon
                                                     CHIEF JUDGE
                                                     UNITED STATES DISTRICT COURT




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